267 F.2d 166
    105 U.S.App.D.C. 338
    CENTRAL STATES DRIVERS COUNCIL, and InternationalBrotherhood of Teamsters, Chauffeurs, Warehousemen andHelpers of America, Over-the-Road and City Transfer Drivers,Helpers, Dockmen and Warehousemen, Local No. 147, Petitioners,v.NATIONAL LABOR RELATIONS BOARD, Respondent.
    No. 14726.
    United States Court of Appeals District of Columbia Circuit.
    Argued April 10, 1959.Decided May 7, 1959, Petition for Rehearing Denied June 25, 1959.
    
      Mr. David Leo Uelmen, Milwaukee, Wis., with whom Mr. Herbert S. Thatcher, Washington, D.C., was on the brief, for petitioners.
      Miss Fannie M. Boyls, Attorney, National Labor Relations Board, with whom Messrs. Jerome D. Fenton, General Counsel, National Labor Relations Board at the time the brief was filed, Thomas J. McDermott, Associate General Counsel, National Labor Relations Board, and Marcel Mallet-Prevost, Asst. General Counsel, National Labor Relations Board, were on the brief, for respondent.
      Before Mr. Justice BURTON, retired,* and WILBUR K. MILLER and FAHY, Circuit Judges.
      PER CURIAM.
    
    
      1
      Following a hearing and other proceedings at the Trial Examiner and Board level, the Labor Board found that petitioners had violated section 8(b)(4)(A),1 the secondary boycott provision of the Labor Management Relations Act, by inducing and encouraging the employees of Bos Lines, Inc., and Burlington Truck Lines, Inc., to engage in a strike with an object of forcing these companies to cease doing business with Clark Brothers Transfer Company 'and other nonunionized motor truck common carriers.'  The cease and desist order which followed ran against the unlawful activity as it might affect the Clark Company 'or any other similar common carrier.'
    
    
      2
      The evidence relied upon by the Board was in large part circumstantial.  While not strong, the evidence was not so insubstantial as to warrant this court in holding that the Board went beyond its powers in resolving the factual doubts against petitioners.
    
    
      3
      Petitioners, referring to our recent decision in International Brotherhood of Teamsters, Chauffeurs, Warehousemen &amp; Helpers of America, General Drivers and Helpers, Local No. 554 A.F.L.-C.I.O. v. N.L.R.B.,104 U.S.App.D.C. 359, 262 F.2d 456, contend that in any event the order is too broad because it requires them to cease the unlawful activity not only as to the Clark Company but also as to 'any other similar common carrier.'  But the record before the Board in the present case supports its finding that the strikes were with the object of forcing Bos and Burlington to cease doing business not only with the Clark Company but with 'other nonunionized motor truck common carriers.'  In these circumstances we construe the language of the order, 'or any other similar common carrier,' to mean any 'other nonunionized motor truck common carriers' in Nebraska.  As so construed the order of the Board will be
    
    
      4
      Affirmed.
    
    
      
        *
         Sitting by designation pursuant to Sec. 294(a), Title 28 U.S.Code
      
      
        1
         Added by 61 Stat. 141 (1947), 29 U.S.C.A. 158(b)(4)(A)
      
    
    